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Fll.[§l¥ E":'
IN THE UNITED STATES DISTRICT COURT ‘

FOR THE WESTERN DISTRICT OF TENNESSEE

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wEsTERN DIvIsIoN JU:““ in P" 2 25

 

 

POWER & TELEPHONE SUPPLY
COMPANY, INC.,

Plaintiff,

v. No. 03-2217 Mi/v
sUNTRUsT BANKS, INC., sUNTRUsT
BANK, sUNTRUsT BANK-ATLANTA,
sUNTRUST BANK-NASHVILLE, N.A.,
sUNTRUsT EQUITABLE sEcURITIEs
coRPoRATIoN, and

sUNTRUsT cAPITAL MARKETS, INc.,

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Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFF'S MOTION
FOR CLARIFICATION AND FOR RECONSIDERATION OF DISMISSAL OF
PLAINTIFF'S INTENTIONAL MISREPRESENTATION AND TENNESSEE CONSUMER
PROTECTION ACT CLAIMS

 

Before the Court is Plaintiff’s Motion for Clarification and
for Reconsideration cf Dismissal cf Plaintiff's Intentional
Misrepresentetion and Tennessee Consumer Protection Act Claims,
filed en January 7, 2005. Defendants responded in Opposition en
January 24, 2005. A reply from Plaintiff was received On January
31, 2005. For the following reasons, the COurt DENIES
Plaintiff's motion.

I. BACKGROUND
On December 27, 2004, this Court issued an Order Grantinq in

Part and Denying in Part Defendants’ Motion to Dismiss. ln its

Ths's document entered on the docket sheet in compliance

with RuIe 53 and/ur ra(a) FHCP on 5 '/6£ '05

 

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order, the Court detailed the events from which this action
arose. The Defendant SunTrust entities began doing business with
Plaintiff in l996 at which time Defendants became a participant
in Plaintiff's syndicated line of credit.1 In September of 1996
and January of 1997, Defendants made presentations to Plaintiff
highlighting the types of services and products offered by the
Defendants.2 (Pl.’s Third Am. Compl. Exs. A and B (Docket No.
lSO.) Plaintiff established a syndicated line of credit with a
variable interest rate with Defendant SunTrust Bank-Nashville in
November of 1998 and increased the line Of credit in October of
2000.

ln July of 1999, Plaintiff entered into an interest rate
swap agreement to hedge against the interest rate on its
syndicated line of credit (“1999 Swap Agreement”). Plaintiff
entered into a second swap agreement with respect to the interest

rate on its syndicated line of credit in July of 2000 (“2000 Swap

 

1 Defendants provide the following outline of the

relationships between the Defendant entities. SunTrust Capital
Markets, Inc., is successor to SunTrust Equitable Securities
Corporation and is a wholly owned subsidiary of SunTrust Banks,
Inc. SunTrust Bank is a wholly owned subsidiary of SunTrust
Banks, Inc. SunTrust Bank consolidated SunTrust Bank-Atlanta and
SunTrust Bank-Nashville on January l, 2000, and both were wholly
Owned subsidiaries of SunTrust Banks, lnc.

2 A review of the September l6, 1999, presentation given to
Plaintiff by Defendant SunTrust Capital Markets reveals that it
is a sales presentation which explains the types of products and
services offered by Defendants to its clients and outlines
transactions performed by Defendants for other SunTrust clients.

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Agreement”). The 1999 and 2000 Swap Agreements were favorable to
Plaintiff until interest rates dropped dramatically between the
years 2000 and 2002; Plaintiff terminated the 1999 and 2000 Swap
Agreements in 2002. Ultimately, Plaintiff contends that it was
damaged in excess of six million dollars due to the drop in
interest rates. (Pl.'s Third Am. Compl. I 66.)

Plaintiff filed suit against Defendants to recover its
losses under the legal theories of breach of fiduciary duty,
breach of contract, agency, misrepresentation, negligence,
violation of the Tennessee Consumer Protection Act, common law
suitability, and tying under the Bank Holding Company Act. The
Court dismissed Plaintiff’s claims for breach of contract,
misrepresentation, violation of the Tennessee Consumer Protection
Act, common law suitability, and tying under the Bank Holding
Company Act on December 27, 2004. (Order Granting in Part and
Den. in Part Defs.’ Mot. to Dismiss of Dec. 2?, 2004 (Docket No.
236).) The Court found that Plaintiff’s claims for negligence,
breach of fiduciary duty, and agency survived dismissal under
Federal Rule of Civil Procedure 12(b)(6) on the narrow grounds
that if Plaintiff were able to produce written agreements
evidencing a fiduciary relationship, then Plaintiff would be able
to state a claim under those causes of action. (Id.)

Through the present motion, Plaintiff seeks a ruling that

its claims for breach of fiduciary duty against Defendant

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SunTrust Bank-Nashville and Defendant SunTrust Eguitable
Securities survive independently from the claim against Defendant
SunTrust Bank-Atlanta. Plaintiff also requests reconsideration
of the dismissal of its claim for intentional misrepresentation
and its claim under the Tennessee Consumer Protection Act.
Plaintiff has presented no new evidence in support of its motion,
but rather has reasserted the arguments that the Court has
already rejected. Having reviewed the record and the parties'
submissions, the Court finds that reconsideration is not
warranted.

II. STANDARD OF REVIEW

Pursuant to Federal Rule of Civil Procedure 60, a party may

seek relief from a court order. In particular, “the court may
relieve a party ... from a final judgment, order, or proceeding
for the following reasons: (l) mistake, inadvertence, surprise,

or excusable neglect; (2) newly discovered evidence which by due
diligence could not have been discovered in time to move for a
new trial under Rule 59(b); (3) fraud (whether heretofore
denominated intrinsic or extrinsic), misrepresentation, or other
misconduct of an adverse party; ... or (6) any other reason
justifying relief from the operation of the judgment. Fed. R.
Civ. P. 60(b).

Plaintiff requests that the Court reconsider the dismissal

of certain of Plaintiff's claims under Federal Rule of Civil

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Procedure l2(b)(6). A defendant may move to dismiss a claim “for
failure to state a claim upon which relief can be granted” under
Rule l2(b)(6). When considering a Rule lZ(b)(6) motion, a court
must treat all of the well-pleaded allegations of the complaint
as true. Savlor v. Parker Seal Co., 975 F.Zd 252, 254 (6th Cir.
1992). Furthermore, the court must construe all of the
allegations in the light most favorable to the non-moving party.
Scheuer v. Rhodes, 4l6 U.S. 232, 236 (1974). “A court may
dismiss a [claim under l2(b)(6)] only if it is clear that no
relief could be granted under any set of facts that could be
proved consistent with the allegations.” Hishon v. King &
Spalding, 467 U.S. 69, 73 (1984).
III. BREACH OF FIDUCIARY DUTY

The Court noted in its Dismissal Order of December 27, 2004,
that in Tennessee a fiduciary duty does not exist as a matter of
law between a bank and its customers. First Tennessee Bank
National Assn. v. C.T. Resorts Co., Inc., l995 Tenn. App. LEXIS
580, *15 (“Tennessee law generally does not impose fiduciary or
other special duties on banks with respect to their
customers.”)(citing Domestic Sewing Mach. Co. v. Jackson, 83
Tenn. 418 (Tenn. l885)). ln other words, the law presumes that a
bank does not stand as a fiduciary vis-a-vis its customers.
However, the law does not foreclose banks from entering into

fiduciary relationships.

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in light of Tennessee law and the contractual language

governing the 1999 and 2000 Swap Agreements, the Court found that
“should Plaintiff present sufficient facts to evidence a
fiduciary relationship embodied in a writing, Defendants may have
owed Plaintiff a fiduciary duty with respect to the 1999 and 2000
Swap Agreements.” (Order Granting in Part and Den. in Part
Defs.’ Mot. to Dismiss of Dec. 27, 2004 at 11-12 (Docket No.
236).) In making this finding, the Court expressly considered
the following contractual language from the 1999 and 2000 Swap
Agreements:

SunTrust acts as principal only and does not act as

advisor, agent, broker, or fiduciary for or with

respect to any counterparty (unless otherwise expressly
agreed in a written engagement letter).

(Pl.’s Third Am. Compl. Ex. F at PT/5000038 and Ex. H at
PT/5000093 (Docket No. 180)(emphasis added).) The contracts also
provide the following:

In entering into any OTC risk management transaction,
you should take into consideration that, unless you and
SunTrust have established in writing an express
financial advisory or other fiduciary relationship or
you and SunTrust have expressly agreed in writing that
you will be relying on SunTrust’s recommendations as
the primary basis for making your trading or investment
decisions, SunTrust is acting solely in the capacity of
an arm’s-length contractual counterparty and not in the
capacity of your financial advisor or fiduciary.

(ld. Ex. F at PT/3000039 and Ex. H at PT/8000092) (emphasis

added).) This language contemplates that the SunTrust entities

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may,r at times, undertake fiduciary relationships, but that such
relationships must be established in writing.

Plaintiff has moved for clarification as to whether the
Court's December 27, 2004, Dismissal Order applies to Defendant
SunTrust Bank-Atlanta, Defendant SunTrust Bank-Nashville, and
Defendant SunTrust Equitable Securities or solely to Defendant
SunTrust Bank-Atlanta as the signatory to the 1999 and 2000 Swap
Agreements. Specifically, Plaintiff contends that only Defendant
SunTrust Bank-Atlanta may benefit from the contractual language
regarding the parties' relationship and risk disclosures.

Plaintiff asserts that a fiduciary relationship exists
between Plaintiff and Defendants SunTrust Bank-Nashville and
SunTrust Eguitable Securities because these entities acted as a
financial advisor and had a relationship of trust with Plaintiff.
Plaintiff contends that a fiduciary relationship was created
because Defendant SunTrust Bank-Nashville and Defendant SunTrust
Eguitable Securities met with and engaged in numerous
conversations with employees of Plaintiff, became Plaintiff's
primary banker, and offered a variety of services to Plaintiff.
(Pl.’s Third Am. Compl.T 15-18.) Plaintiff further contends that
Defendant SunTrust Bank-Nashville and Defendant SunTrust
Equitable Securities strongly urged Plaintiff to enter into the

1999 and 2000 Swap Agreements.

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Under Tennessee law, a bank is not, as a matter of law, a
fiduciary with respect to its customers. Oak Ridge Precision
lndustries. lnc. v. First Tennessee Bank Nat’l Ass'n, 835 S.W.Zd
25, 30 (Tenn. Ct. App. 1992)(“Although fiduciary relationships
may arise whenever confidence is reposed by one party in another
who exercises dominion and influence, the dealings between a
lender and borrower are not inherently fiduciary absent special
facts and circumstances.”) The Court has determined that the
facts and circumstance of this case do not give rise to a
fiduciary relationship unless Plaintiff can establish that the
parties agreed in writing to create a fiduciary relationship.

ln addition to Tennessee law which disfavors the finding of
a fiduciary relationship in the context of a banking
relationship, Plaintiff has entered into contracts with Defendant
entities and received written information from Defendant entities
which specifically indicate that the parties do not have a
fiduciary relationship. A review of the record reveals that
Defendants SunTrust Bank-Nashville and SunTrust Equitable
Securities, as well as Defendant SunTrust Bank-Atlanta, have
expressly disavowed a fiduciary relationship with Plaintiff.

ln November of 1998, Plaintiff and Defendant SunTrust Bank-
Nashville entered into a Restated Security Agreement which
concerns the credit arrangement between the parties. The

Restated Security Agreement contains the following language:

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No Fiduciary Relationship. Nothing contained herein or
in any related document shall be deemed to create any

partnership, joint venture or other fiduciary
relationship between Agent and Borrower and/or any
Lender Borrower for any purpose.
(Exs. to Defs.’ Statement of Undisputed Facts at Ex. 352 at
ST3228.) This contract expressly indicates that Defendant
SunTrust Bank-Nashville does not stand as a fiduciary to
Plaintiff with respect to the parties' debtor-creditor
relationship.

On July 1, 1999, Defendant SunTrust Bank-Atlanta and
Plaintiff entered into a Master Agreement with respect to the
swap transactions. The Master Agreement governs the 1999 and
2000 Swap Agreements, which concern the interest rates associated
with Plaintiff's line of credit with Defendants. The Restated
Security Agreement, governing the parties’ debtor-creditor
relationship, is referenced in the Master Agreement and the
Master Agreement is incorporated into the 1999 and 2000 Swap
Agreements. The contractual language of the Restated Security
Agreement, which is part of the 1999 and 2000 Swap Agreements,
provides that Plaintiff and Defendant SunTrust Bank-Nashville do
not have a fiduciary relationship.

Further, a review of the presentation given to Plaintiff by
Defendant SunTrust Eguitable Securities regarding the 1999 Swap

transaction reveals that it contains the following language:

The ultimate decision to proceed with any transaction
rests solely with the Company. SunTrust is not acting

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as the Company's advisor. Therefore, prior to entering
into any proposed transaction, the Company should
determine, without reliance upon SunTrust or its
affiliates, the economic risks and merits, as well as
the legal, tax, and accounting characteristics and
consequences of the transaction and that it is able to
assume these risks.
(Pl.'s Third Am. Compl. Ex. E at 10.) This language expressly
disclaims the existence of a fiduciary relationship between the
parties and plainly states that “SunTrust is not acting as the
Company's advisor” with respect to the 1999 Swap transaction.
Moreover, this language indicates that Plaintiff was on notice
that Defendant SunTrust Equitable Securities was not acting as
its advisor even before Plaintiff entered into the 1999 and 2000
Swap Agreements.
ln light of Tennessee law disfavoring the finding of a
fiduciary relationship between a bank and its customers and the
language provided in contracts signed by Plaintiff as well as the
written notice given to Plaintiff that a fiduciary relationship
did not exist between the parties, the Court finds that Plaintiff
must present facts evidencing a fiduciary relationship embodied
in a writing to maintain a claim for breach of fiduciary duty
against any of the Defendants. Accordingly, the Court hereby
clarifies that its December 2?, 2004, Dismissal Order applies to

Defendant SunTrust Bank-Nashville and Defendant SunTrust

Eguitable Securities as well as Defendant SunTrust Bank-Atlanta.

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IV. INTENTIONAL MISREPRESENTATION

ln its Dismissal Order of December 27, 2004, the Court
dismissed Plaintiff's claim for intentional misrepresentation.
Plaintiff moves the Court to reconsider this dismissal based on
the contention that Plaintiff has met the pleading requirement to
allege intentional misrepresentation. As the Court explained in
its Dismissal Order, in Tennessee, claims for intentional
misrepresentation are analyzed as claims for fraud. Shahrdar v.
Global Housind, lnc., 983 S.W.Zd 230, 237 (Tenn. Ct. App. 1998).
Both Tennessee and the Sixth Circuit have heightened pleading

requirements to sustain an action for fraud. Fed. R. Civ. P.
9{b); Tenn. Civ. Proc. Rule 9.02.; Oak Ridqe Precision lndus.,

835 s.w.2a at 293,~ coffey v. romax, 2 F.aa 157, 162 (6th cir.
1991)4; Michaels Bldg. Co. v. Ameritrust Co., N.A., 848 F.2d 674,

679 (6th Cir. 1988}.

 

3 Under Tennessee law, “[t]he elements of fraud are an
intentional misrepresentation with regard to a material fact;
knowledge of the representation’s falsityr i.e., it was made
‘knowingly’ or ‘without belief in its truth’ or ‘recklessly'
without regard to its truth or falsity; the plaintiff reasonably
relied on the misrepresentation and suffered damages; and the
misrepresentation relates to an existing or past fact." Qak
Ridqe Precision lndus., 835 S.W.2d at 29.

4 To successfully plead fraud, the Sixth Circuit requires,
at a minimum, that a plaintiff allege: the time, place, and
content of the alleged misrepresentation on which he or she
relied; the fraudulent scheme; the fraudulent intent of the
defendants; and the injury resulting from the fraud. Coffey, 2
F.3d at 162.

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The record reveals that Plaintiff attempts to assert
numerous separate incidents as amounting to misrepresentations.
Because each of the alleged misrepresentations asserted by
Plaintiff fails to met the heightened pleading requirements to
assert a claim for fraud, Plaintiff cannot maintain a cause of
action for intentional misrepresentation.

Plaintiff has moved the Court to reconsider the dismissal of
its misrepresentation claim on the assertion that Defendants
misrepresented that they would act as financial advisors to
Plaintiff and misrepresented their intent to create an advisory
relationship with Plaintiff. (Pl.'s Third Am. Compl. l 13 and
14.) ln particular, Plaintiff relies on consumer presentations
made by the “SunTrust Entities” to Plaintiff in September of 1996
and January of 1997. (ld. 1 13.) The Court reviewed these
presentations and considered Plaintiff's arguments with respect
to these presentations when it dismissed Plaintiff’s
misrepresentation claim.

The Court finds that the sales presentations relied upon by
Plaintiff, which were provided to Plaintiff over two years before
Plaintiff entered into the swap transactions, are insufficient to
state a claim for intentional misrepresentation. A claim for
fraud must be based on an “intentional misrepresentation with

regard to a material fact." Oak Ridge Precision lndus., 835

S.W.Zd at 29. Plaintiff contends that Defendants misrepresented

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an intent to act as Plaintiff’s financial advisor. The Court
finds that statements in the sales presentations at issue such

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Advisory Service. A desire to act as a financial
advisor, not just a placement service.

Commitment. Senior Specialists will assist the client
throughout the process helping them structure a
marketable transaction that best meets the company’s
needs.
Follow-Through. We stay involved with the client after
the transaction is completed, thereby facilitating
conversation regarding future transactions and
reinforcing our role as financial advisor.
(Pl.’s Third Am. Compl. at Ex. A at 31218 and Sl222 and Ex. B at
81490 and 31494), are not actual or material facts, but rather
are merely future considerations. Although Plaintiff also
alleges that the Defendant entities “assured” Plaintiff that it
was a financial advisor, Plaintiff does not specifically allege
who made such assurances or when they were made. (ld. at L 15.)
Further, Plaintiff has failed to allege a fraudulent scheme or
the fraudulent intent of Defendants. Specifically, Plaintiff has
failed to allege that Defendants made sales presentations to
Plaintiff in 1996 and 1997 as part of a fraudulent scheme to
induce Plaintiff to enter into the Swap Agreements in 1999 and
2000 which would become unfavorable to Plaintiff when interests
rates dropped to historical lows.

Plaintiff has also alleged that Defendants misrepresented

that they would renegotiate the Swap Agreements should interest

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rates fall and the Swap Agreements become unfavorable to
Plaintiff. Plaintiff, howeverr has neither alleged who made such
assurances on behalf of Defendants, nor when and where any such
statements were made. ln other words, Plaintiff has not stated
this alleged fraud with the requisite particularity. Further,
the Court has already determined that evidence of any such
misrepresentation would be inadmissible under the parole evidence
rule.

In addition, Plaintiff has alleged that Defendants
misrepresented that the Swap Agreements were appropriate for
Plaintiff and misrepresented the risks and suitability of the
Swap Agreements. Plaintiff, however, has not met the heightened
pleading requirement to show that Defendants committed a fraud
with respect to the 1999 and 2000 Swap Agreements. Plaintiff’s
vague allegation that it was urged to enter into the Swap
Agreements is insufficient to state a cause of action for
misrepresentation.

Because Plaintiff has not pled any misrepresentation or
fraud with sufficient particularity, the Court dismissed
Plaintiff's claim for misrepresentation. ln making its request
for reconsideration, Plaintiff has merely reasserted arguments it
has already advanced and the Court has already rejected.
Accordingly, the Court DENIES Plaintiff’s motion to reconsider

the Court’s December 27, 2004, dismissal order.

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V. TENNESSEE CONSUMER PROTECTION ACT

Plaintiff contends that the Court should reconsider the
dismissal of Plaintiff’s claim under the Tennessee Consumer
Protection Act as untimely. The Tennessee Consumer Protection
Act provides for a statute of limitations of one year. Tenn.
Code Ann. § 47-18-110. ln Tennessee, a “cause of action accrues
and the statute of limitations begins to run when the injury
occurs or is discovered, or when in the exercise of reasonable
care and diligence, it should have been discovered.” Potts v.
Celotex Corp., 796 S.W.2d 678, 680 (Tenn. 1990); see al§g
Shadrick v. Coker, M.D., 963 S.W.ZD 726, 733-34 (Tenn. 1998).

In its motion for reconsideration, Plaintiff asserts that
the commencement of a limitations period is a fact specific
inquiry and therefore its claim under the Tennessee Consumer
Protection Act must necessarily survive a motion to dismiss.
Plaintiff also contends that its claim survives because it was
unaware of the wrongful conduct of Defendants.

“A court may dismiss a [claim under 12(b)(6)] only if it is
clear that no relief could be granted under any set of facts that
could be proved consistent with the allegations.” Hishon v. King
& Spalding, 467 U.S. 69, 73 (1984). The Court has already found
that there are no set of facts which may be proven consistent

with the Plaintiff's allegations under which Plaintiffs may

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plausibly assert that they were not aware of the accrual of this
cause of action within the statutory limitations period.

Plaintiff simply cannot assert facts sufficient to overcome
the limitations period and contemporaneously maintain the
allegations asserted in its Third Amended Complaint. Therefore,
Plaintiff is barred by the statute of limitations from asserting
a claim under the Tennessee Consumer Protection Act for which
this Court may grant relief. Accordingly the Court DENIES
Plaintiff's motion to reconsider the Courts dismissal of
Plaintiff’s claims under the Tennessee Consumer Protection Act.
VI. CONCLUSION

For the foregoing reasons, the Court DENIES Plaintiff’s
motion to reconsider the Court's dismissal of Plaintiff’s claims
for intentional misrepresentation and violation of the Tennessee
Consumer Protection Act. The Court GRANTS Plaintiff's motion for
clarification and hereby clarifies that the Court's ruling with
respect fo Plaintiff’s claim for breach of fiduciary duty applies

to all of the Defendant entities.

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so oRnERED this }@ day ar May, 2005.

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JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

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Honorable Jon McCalla
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